
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-03-181-CV



IN RE CHARLES W. BISHOP, II	RELATOR



------------

ORIGINAL PROCEEDING

------------

MEMORANDUM OPINION
(footnote: 1)
------------

The court has considered relator's petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of mandamus is denied.



PER CURIAM





PANEL B:	LIVINGSTON, DAY, and WALKER, JJ.



DELIVERED: June 18, 2003

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




